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 8                             UNITED STATES DISTRICT COURT
 9                           SOUTHERN DISTRICT OF CALIFORNIA
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11     TWINS SPECIAL CO., LTD., a private              Case No.: 23-cv-223-JO-DDL
       limited company organized under the             Related Case No.: 21-cv-221-JO-DDL
12
       laws of Thailand,
13                              Plaintiff,             ORDER ON STIPULATION FOR
                                                       FORENSIC EXAMINATION
14     v.
15                                                     [Dkt. No. 234]
       TWINS SPECIAL, LLC, NICHOLAS
16     MECHLING, an individual,
       CHRISTOPHER MECHLING, an
17
       individual, TWINS SPECIAL, an
18     unincorporated general partnership, and
       DOES 1-10, inclusive,
19
20                               Defendants.
21
22          Plaintiff Twins Special Co. Ltd. (“Twins Thailand”) seeks to conduct a forensic
23    examination of electronic devices and cloud-based accounts utilized by defendants.
24    Defendants do not object to the forensic examination, and the parties have jointly proposed
25    a protocol for the examination. Dkt. No. 234. On September 3, 2024, the Court held a
26    status conference with the parties to review the stipulated protocol.
27    ///
28    ///

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 1          Having considered the parties’ stipulated protocol, the Court ORDERS as follows:
 2     I.   Forensic Examiner Review and Authorization
 3          a.    The forensic examination shall be conducted by an independent forensic
 4                examiner (the “Examiner”) as authorized by the Court. The purpose of the
 5                Examiner’s work is to search for and locate documents (if any) relevant to this
 6                proceeding that have not been previously produced.
 7          b.    Twins Thailand shall select and pay the Examiner, reserving the right to seek
 8                an order shifting costs to Defendants.
 9          c.    The Examiner shall promptly sign an acknowledgment of the Protective Order
10                [Dkt. No. 99].
11          d.    The Examiner shall act consistent with professional norms and apply
12                professional judgment throughout as he carries out his work, including
13                proposing changes to timing or procedures if called for in the Examiner’s
14                judgment.
15          e.    All parties must cooperate promptly and fully with the Examiner, 1 including
16                by promptly meeting the Examiner (or his agents) for device turnover at
17                locations reasonably close to the devices’ locations, and promptly supplying
18                information, passwords, and credentials required to access and decrypt data.
19                Any party may move for appropriate sanctions for the willful obstruction of
20                this Protocol, including hiding or destruction of data, in accordance with the
21                undersigned’s chambers rules.
22    II.   Examination Process
23          a.    Within one business day of the entry of this Order, the Examiner will send
24                Defendants a Disclosure form. The form will require Defendants to 1) identify
25                all relevant devices and accounts in their possession, custody or control
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            All references to the Examiner include staff and subcontractors (e.g., in Thailand).

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 1                  (“Sources”) and their physical locations; 2 and 2) provide passwords and other
 2                  necessary information to access data. Defendants and the Examiner will
 3                  arrange turnover locations reasonably close to the devices and provide at least
 4                  two proposed times for device turnover over the next two business days. It is
 5                  contemplated that the turnover will occur in Bangkok, Thailand. The
 6                  Examiner will image and return Source devices as soon as practical, but in no
 7                  event longer than three business days following receipt of the Sources.
 8          b.      The Examiner will then conduct the analysis authorized by the Court
 9                  following professional norms and his professional judgment, potentially
10                  including the following.
11                 i.     First, the Examiner will make a record of what it obtains from
12                        Defendants, including taking steps to recover and maintain data
13                        (including metadata) obtained, and to determine whether any Sources
14                        appear to have been the subject of any attempt to remove or hide data.
15                ii.     Second, the Examiner will search the Sources and segregate financial
16                        data (e.g., profit and loss statements, Excel files, Quickbooks files, tax
17                        returns).
18               iii.     Third, the Examiner shall conduct a search of the Sources for
19                        documents. The Examiner shall use the search terms attached hereto as
20                        Exhibit B. Before doing this, the Examiner will attempt to remove any
21                        privileged materials removing any communications with any of
22
23
      2
            The Disclosure will cover all devices (including computers, tablets, phones, and
24    external storage media) and cloud-based accounts (including Gmail, Google Drive, and
25    similar communication or storage platforms) in the possession, custody, or control of
      Defendants which may contain relevant documents, including at least (but not limited to)
26    the accounts and devices identified on Exhibit A. The Disclosure will also request
27    information about any devices no longer in Defendants’ possession, custody or control but
      which were used for relevant documents since December 1, 2017 (just before the December
28    2017 agreement Defendants allege partially resolved disputes with Plaintiff).

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 1                     Defendants’ current or prior counsel of record in this action (including
 2                     others at those firms) or other attorneys representing Defendants. In the
 3                     event the Examiner locates additional potential avenues of inquiry, the
 4                     Examiner shall present his finding to the parties. The parties will then
 5                     meet and confer in an attempt to determine if a modification of the
 6                     protocol is needed, and if so, what modifications are needed. If the
 7                     parties are unable to reach an agreement as to any modification of the
 8                     protocol, the parties shall promptly raise the issue with the Court.
 9             iv.     Fourth, the Examiner will attempt to “de-dupe” any hits against
10                     Defendants’ prior production, to the extent the production’s format
11                     allows automated de-duping.
12              v.     Fifth, the Examiner will provide the resulting set of potentially relevant
13                     but Unproduced Materials to Defendants’ counsel for responsiveness
14                     and privilege review. (This review must be done by Defendants’
15                     counsel or ESI professionals working under counsel’s direction, not by
16                     Defendants themselves.) The Examiner will also provide an initial draft
17                     report to both sides disclosing the work done to date, including
18                     summary information about the potentially Unproduced Materials (e.g.,
19                     volume of documents, breakdown by creation dates, breakdown by
20                     search terms).
21             vi.     Sixth, Defendant’s counsel will produce to Plaintiff any responsive
22                     documents not previously produced within five business days of
23                     counsel’s receipt of the Unproduced Materials from the Examiner.
24             vii.    Seventh, the parties will provide the Examiner any questions or
25                     proposed edits for the Examiner to address in its final Report.
26            viii.    No later than five business days after receiving the Examiner’s Final
27                     Report, the parties will file a Joint Status Report together with the
28                     Examiner’s Report.

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 1    III.   Joint Status Report
 2           By not later than September 28, 2024, the parties shall file a joint status report
 3    addressing:
 4           a.     The current status of the forensic examination;
 5           b.     The expected completion date for the entire Protocol; and
 6           c.     The parties’ recommendations regarding modification of the pretrial schedule.
 7
 8           IT IS SO ORDERED.
 9    Dated: September 4, 2024
10
11                                             Hon. David D. Leshner
12                                             United States Magistrate Judge
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 1                                       EXHIBIT A
 2                          Email Accounts & Domains to Investigate
 3
 4     Email Addresses
 5     admin@isdc-sandiego.com
 6     Joseph.mechling@yahoo.com
 7     Licensing@twinss.com
 8     mechling@gmail.com
 9     mechling@isdc-sandiego.com
10
       n.mechling@isdc-sandiego.com
11
       nc@mechtechiwt.com
12
       nc@twinsfightgear.com
13
       nc@twinsspecial.com
14
       nicholas.mechling@aim.com
15
       nick.mechling@kickboxingsandiego.com
16
       nickmechling@gmail.com
17
       nickmechling@isdc-sandiego.com
18
       sales@isdc-sandiego.com
19
       sales@twinsfightgear.com
20
21     support@isdc-sandiego.com

22
23     Domain names

24     isdc-sandiego.com

25     kickboxingsandiego.com
26     mechtechiwt.com
27     twinsfightgear.com
28

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 1     twinss.com
 2     twinsspecial.com
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                                        Devices to Investigate
 5
         •       ast one active mobile telephone for Nicholas Mechling (ti    o +1-858-735-
 6               ), and one for Christopher Mechling (tied to +1-858-735-      ); and any
                 ional or prior mobile devices used by either.
 7
         • At least one external storage device used by Christopher Mechling to archive and
 8         then allegedly restore data after an alleged data loss on his computer in
           approximately 2021 or 2022.
 9
         • The computers currently used by N. Mechling and C. Mechling (possibly a “Mac
10         Mini”), and any prior computers (including the prior computer that suffered a data
           loss).
11
         • Other tablets and devices on which relevant documents (including
12         communications) may be.
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 1                                       EXHIBIT B
 2                                      Search Terms
 3    Twins!
 4    King!
 5    Avalanche!
 6    trademark
 7    confusion!
 8    invoice!
 9    order!
10    revenue!
11    Suppl* w/3 Agreement
12    Suppl* w/3 Contract
13    Distribut* w/3 Agreement
14    Plumtree!
15    Fighting /3 spirit!
16    Licens!
17    P/L!
18    Profit! /s loss!
19    Financial!
20    Balance /s sheet!
21    Scott! /s peck!
22    Copyright!
23    Wise!
24    kohtwins@hotmail.com
25    twins@hotmail.com.co.th
26    simon.j.pouliot@gmail.com
27    Witkin!
28    @privatebankergroup.com!

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 1    Michael! /s miller!
 2    Chris! /s Cocores!
 3    admin@isdc-sandiego.com
 4    joseph.mechling@yahoo.com
 5    licensing@twinss.com
 6    mechling@gmail.com
 7    mechling@isdc-sandiego.com
 8    nc@mechtechiwt.com
 9    nc@twinsfightgear.com
10    nc@twinsspecial.com
11    Nicholas.mechling@aim.com
12    Nick.mechling@kickboxingsandiego.com
13    nickmechling@gmail.com
14    nickmechling@isdc-sandiego.com
15    sales@isdc-sandiego.com
16    sales@twinsfightgear.com
17    support@isdc-sandiego.com
18    isdc-sandiego.com
19    kickboxingsandiego.com
20    mechtechiwt.com
21    twinsfightgear.com
22    twins.com
23    TJC!
24    Malham!
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             The entries that have been redacted were provided pursuant the Court’s Protective
27     Order and designated as CONFIDENTIAL ATTORNEY’S EYES ONLY. As a result,
       they are being redacted from the public filing. An unredacted list of the search terms has
28     been provided to, and approved by, all parties.

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